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                    THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
IN RE: APPLICATION OF THE REPORTERS        )
COMMITTEE FOR FREEDOM OF THE PRESS )
FOR AN ORDER AUTHORIZING THE              ) Misc. No. 19-045 (BAH)
RELEASE OF GRAND JURY MATERIAL            )
CITED, QUOTED, OR REFERENCED IN THE )
REPORT OF SPECIAL COUNSEL ROBERT          )
S. MUELLER III                            )
__________________________________________)

                                NOTICE OF APPEARANCE

       Please take notice that Elizabeth J. Shapiro, United States Department of Justice, Civil

Division, Federal Programs Branch, hereby enters her appearance as counsel for Defendant in

the above-captioned matter.

       Dated: April 3, 2019                      Respectfully submitted,

                                                 JOSEPH H. HUNT
                                                 Assistant Attorney General


                                                 /s/ Elizabeth J. Shapiro
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